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                              UNITED STATES DISTRICT COURT,
 7                                 DISTRICT OF ARIZONA

 8   Lynette Constable,                          ) Case No.: CV09-01620-PHX-ROS
                                                 )
 9                        Plaintiff,             )
     v.                                          )
10                                               ) ORDER
     Kenneth Eisen & Associates,                 )
11                                               )
                          Defendant.             )
12                                               )
                                                 )
13                                               ))

14

15           The Court having considered the parties’ Stipulation of Dismissal with Prejudice

16   (Doc. 28), and good cause appearing,
17
             IT IS ORDERED the Stipulation is APPROVED, and the above referenced matter
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     is dismissed with prejudice, with the parties to bear their own fees and costs.
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             Dated this 7th day of October, 2010.

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